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 September 23, 2021

 The Honorable Brian M. Cogan
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201


 Re: United States v. Al Malik Alshahhi, et al., 21-CR-371

 Dear Judge Cogan:

         On behalf of Thomas J. Barrack, Jr., a defendant in the above-captioned case, we
 respectfully request the Court’s permission for Mr. Barrack to stay overnight in Santa Monica,
 California, within the Central District of California, on Sunday, September 26, 2021. The
 government and Pretrial Services Officers in both California and New York have consented to this
 request.

         Mr. Barrack’s Conditions of Release currently permit him to travel within the Central
 District of California, the District of Colorado, and the Eastern and Southern Districts of New York
 (Dkt. 15). Though not explicitly set out in his Conditions of Release, while in the Central District
 of California, per discussions with Pretrial Services, Mr. Barrack currently exclusively stays
 overnight at his residence in Santa Ynez, CA. With the Court’s permission, Mr. Barrack would
 stay at 2219 La Mesa Drive, Santa Monica, CA 90402 on September 26, 2021, departing
 September 27, 2021. While staying overnight in Santa Monica, Mr. Barrack would continue to be
 subject to all other conditions of release, including his curfew, GPS monitoring, and reporting to
 Pretrial Services as directed.

        Mr. Barrack has been fully compliant with the conditions of his pretrial supervision. He
 executed a bond for $250,000,000, among other terms set out in his Conditions of Release. Mr.
 Barrack does not pose a flight risk.

        Thank you for your consideration.

 Respectfully,

 /s/ Phara Serle Guberman

 Phara Serle Guberman
 of PAUL HASTINGS LLP
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 cc:   All Counsel of Record (via ECF)
       Alexis Ochoa, Pretrial Services (via Email)
       Manuel Ibanez, Pretrial Services (via Email)
       Ramel Moore, Pretrial Services (via Email)
